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                                   United States District Court
                                  Southern District of New York


Virginia L. Giuffre,

                 Plaintiff,                    Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

       PLAINTIFF’S MOTION TO COMPEL THE PRODUCTION OF DOCUMENTS
     SUBJECT TO IMPROPER OBJECTION AND IMPROPER CLAIM OF PRIVILEGE

          Plaintiff Virginia Giuffre, by and through her undersigned counsel, respectfully submits

this Motion to Compel Production of Documents in response to request nos. 1, 2, 3, 6, 7, 9, 10,

11, 12, 17, and 18, and Motion to Compel Production of certain documents on Defendant’s Third

Amended Privilege Log. For the reasons set forth below, this Court should grant Plaintiff’s

Motion in its entirety.

     I.   FACTUAL BACKGROUND1




1
 On Wednesday, June 8, 2016, the undersigned sent Defendant’s counsel a lengthy and detailed
letter concerning the deficiencies in Defendant’s production in response to Plaintiff’s Second
Request for Production. See Schultz Decl. at Exhibit 1. In that letter, the undersigned proposed
we meet and confer call at Defendant’s counsel’s convenience over the next couple days. On
Monday, June 13, 2016, the following business day, the undersigned wrote again requesting a
meet and confer call, again offering the next couple days to have the call. See Schultz Decl. at
Exhibit 2. Again, the undersigned received no response whatsoever.
         Tellingly, it was not until July 16, 2016, when Defendant wanted to meet and confer
about Ms. Giuffre’s discovery that Defendant finally agreed to discuss these issues. The meet
and confer call took place on July 26, 2016, and lasted two hours. See McCawley Decl. at
Composite Exhibit 3, July 18, 2016, Email from Paul Cassell to Ty Gee, and July 21, 2016;
Email from Paul Cassell to Ty Gee.
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       Plaintiff served her Second Request for Production on April 14, 2016. Despite the

Court’s former rulings, requiring Defendant to turn over documents subject to improper

objections and improper claims of privilege, Defendant failed to produce relevant, responsive,

non-privilege documents. It is important to note, Ms. Giuffre has had to litigate for every single

other document that Defendant has produced in this case. That is inappropriate discovery

behavior. “Although not unlimited, relevance, for purposes of discovery, is an extremely broad

concept.” Ottoson v. SMBC Leasing and Finance, Inc., (Sweet, J.) 2015 WL 4597542 at * 2

(S.D.N.Y. July 30, 2015) (granting motion to compel) (internal quotations omitted); Stinson v.

City of New York, (Sweet, J.), 2015 WL 4610422 (S.D.N.Y. July 23, 2015) (granting in part

motion to compel production). A party should not have to litigate over the production of every

single document in the case. Yet, this has been Defendant’s strategy, and the Court should not

accept such stonewalling as a litigation tactic.

       In the Second Circuit, courts have dismissed actions where a party has demonstrated

willful disregard for its discovery obligations. Edwards v. Am. Airlines, Inc., No. 95 CIV. 5356

(SAS), 1996 WL 432472, at *3 (S.D.N.Y. Aug. 1, 1996). See also International Mining Co.,

Inc. v. Allen and Co., (Sweet, J.), 567 F.Supp 777 (S.D.N.Y. 1983) (failure to produce

documents and supply adequate answers to interrogatories without justifiable excuse warranted

the dismissal of the complaint). The blatant nature of the defendant’s failure to participate in

discovery is akin to the conduct for which the Second Circuit has awarded sanctions.

       Specifically, Defendant is refusing to produce documents concerning Defendant’s

defamatory statements to the media and Defendant’s documents concerning Ms. Giuffre - both

categories of documents go directly to the claim at issue in this litigation. Therefore, this Court

should compel her to produce them.



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 II.     LEGAL ARGUMENT

         A. Legal Standard

         Under Federal Rule of Civil Procedure 34(a), a party may request that another party

produce documents in its possession as long as the documents are within the scope of Fed. R.

Civ. P. 26(b), which allows for broad discovery regarding any non-privileged matter that is

relevant to any party’s claim or defense. Information within this scope of discovery need not be

admissible in evidence to be discoverable. Relevance is still to be “construed broadly to

encompass any matter that bears on, or that reasonably could lead to other matter that could bear

on” any party's claim or defense. State Farm Mut. Auto. Ins. Co. v. Fayda, No.

14CIV9792WHPJCF, 2015 WL 7871037, at *2 (S.D.N.Y. Dec. 3, 2015) (granting motion to

compel). If the opposing party objects to producing the documents, the party seeking production

can file a motion to compel with the court pursuant to Fed. R. Civ. P. 37. Against this backdrop

of broad discovery rights, Maxwell has refused to produce responsive documents.

         B. Defendant’s Specific Objections Fail

    i.      Document Request No. 1

Request No. 1: Produce all documents that Your attorneys reviewed and/or relied upon in the
March 21, 2016, meet and confer discussion when Mr. Pagliuca stated that (1) Plaintiff made
false allegations concerning her sexual assault; (2) she made them in roughly the same time
frame that Plaintiff was abused by Jeffrey Epstein; (3) that the allegations were made against a
number of individuals in the area; and (4) that the allegations were found to be unfounded by
local police.

Response: Ms. Maxwell has no knowledge of any statements made by Mr. Pagliuca during the
March 21, 2016 meet and confer and hence has no documents responsive to this Request.
Further, this Request inaccurately characterizes the statements of Ms. Maxwell’s counsel during
the March 16, 2016 meet and confer.

        Ms. Maxwell further objects to this Request to the extent it seeks documents or
information protected by the attorney/client privilege, the work-product doctrine, the common
interest privilege or any other applicable privilege.



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        Ms. Maxwell also objects to this Request to the extent it calls for information relating to
Virginia Roberts Giuffre that exists within the public domain, the internet or in public court
records and which are equally available to both parties and can be obtained from some other
source that is more convenient, less burdensome, and less expensive. Subject to and without
waiver of the foregoing, Defendant refers to the public documents and news reports regarding
Plaintiff’s allegations of sexual abuse and investigation of the same, which have been previously
produced, are available in the public domain, or referenced in court papers. Defendant also
refers Plaintiff to documents within the possession, custody and control of Plaintiff and her
counsel, including without limitation Mr. Bradley Edwards, which were requested in
Defendant’s First Set of Discovery Requests, but were not produced despite certification of
Plaintiff and Plaintiff’s counsel that such Responses were truthful and complete.
Without waiver of any such objections, Ms. Maxwell has made available documents related to
some of Ms. Giuffre’s false allegations of sexual assaults in her Second Supplemental Fed. R.
Civ. P. 26(a)(1)(A) disclosures.

       The police reports at issue depict the sexual assault of Ms. Giuffre when she was a

fourteen-year-old girl, assaults that occurred in Florida. During a March 21, 2016, meet and

confer call among counsel, Defendant’s counsel referred to these police reports documenting Ms.

Giuffre being raped prior to when she was abused by Defendant.2

       The police reports produced in “response” to this Request bear date-stamps on them from

the issuing agency. All of the date-stamps post-date the March 21, 2016, phone call. Specifically,

they are from April 19, 2016 (e.g., GM_00802), April 22, 2016 (E.g. GM_00748) and April 25,

2016 (e.g., GM_00802). Accordingly, these are not the documents Defendant’s counsel relied

upon in the March 21, 2016, meet-and-confer, as the date on the documents show that

Defendant’s counsel did not have them at that time. It is obvious that Defendant’s counsel

obtained copies of these police reports by other means prior to the March 21, 2016, meet and

confer. Defendant failed to make any production in response to this Request.

       Indeed, the fact that Defendant’s counsel went to the trouble of getting copies of these

reports in April - after the meet-and-confer and after Ms. Giuffre issued her Request - instead of



2
  Defendant, for reasons unstated, seeks to challenge the confidentiality of these reports detailing
the rape of Ms. Giuffre when she was a minor child.
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simply producing the copies they already have, raises questions as to when they originally had

the documents, who they obtained the documents from, and why Defendant went to the trouble

to obtain a new copy. Police reports of minors, especially those detailing sexual crimes by and

against minors, are protected from public dissemination by Florida law.

       Specifically, Florida statutes protect “[a]ny information in a videotaped statement of a

minor who is alleged to be or who is a victim of sexual battery . . . which reveals that minor’s

identity.” Fla. Stat. § 119.071. Additionally, Fla. Stat. § 985.036 protects records where a

juvenile is a victim of a crime. Further, Section 794.026, Fla. Stat., creates a civil right of action

against an individual who communicates to others identifying information concerning the victim

of a sexual offense. Further, Fla. Stat. § 985.04 and Fla. Stat. § 985.054 make juvenile law

enforcement records confidential from members of the public, and states that information

obtained by a law enforcement agent participating in the assessment of a juvenile is confidential.

Finally, certain of the police reports implicate Ms. Giuffre’s involvement with the Florida

Department of Children and Families, see e.g., GM_00750, and if such reports are part of the

State’s Department of Children and Families’ records, they are confidential pursuant to Fla. Stat.

§ 39.202(6). Based upon the myriad of Florida Statutes that protect the confidentiality of these

police reports, it is likely that the person who furnished the police reports to Defendant’s counsel

prior to the March 21, 2016, meet and confer call obtained them illegally.

       In sum, Defendant did not produce the documents her counsel relied upon in the March

21, 2016, meet and confer call. Accordingly, Defendant should produce the requested

documents. If such documents were obtained in contravention of Florida Statutes, it cannot be

hidden behind a production of later-acquired police reports. Accordingly, the Court should

compel production of these documents.



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   ii.      Document Requests Nos. 2 and 3

Document Request No. 2: Produce all documents concerning how any such police report, or
how any such recounting, retelling, summary, or description of any such police report (as
referenced in Interrogatory No. 1), came into Your possession. This request includes, but is not
limited to, all documents concerning how, when, and by whom such reports (or descriptions of
reports) were obtained from a minor child’s sealed juvenile records and files.

Response: Ms. Maxwell objects to this Request in that there is no “Interrogatory No. 1” to
which the Request corresponds. She further objects to the Request in that it improperly seeks to
propound an Interrogatory in the form of a Request for Production of Documents and is a
contention Interrogatory barred according to Plaintiff’s interpretation of the Local Rules. The
Request embeds a number of assumptions that are not true and for which Plaintiff supplies no
basis for assertion of their veracity.
        Ms. Maxwell likewise objects to this Request because it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege.
        Finally, Ms. Maxwell also objects to this Request to the extent it calls for information
relating to Virginia Roberts Giuffre that exists within the public domain, the internet or in public
court records and which are equally available to both parties and can be obtained from some
other source that is more convenient, less burdensome, and less expensive. Defendant refers to
the public documents and news reports regarding Plaintiff’s allegations of sexual abuse and
investigation of the same, which have been previously produced, are available in the public
domain, or referenced in court papers. Defendant also refers Plaintiff to documents within the
possession, custody and control of Plaintiff and her counsel, including without limitation Mr.
Bradley Edwards, which were requested in Defendant’s First Set of Discovery Requests, but
were not produced despite certification of Plaintiff and Plaintiff’s counsel that such Responses
were truthful and complete.
        Without waiver of any such objections, Ms. Maxwell has made available documents
related to some of Ms. Giuffre’s false allegations of sexual assaults in her Second Supplemental
Fed. R. Civ. P. 26(a)(1)(A) disclosures. Ms. Maxwell is withholding documents responsive to
this request on the basis of the attorney-client and work product privileges.

Document Request No. 3: Produce all documents concerning how information or knowledge of
the local police’s findings or opinions concerning Ms. Giuffre’s allegations of sexual assault as a
minor child came into Your possession, including but not limited to documents concerning any
statements made by law enforcement or any state attorney, written or oral, concerning such
allegations.

Response: Ms. Maxwell objects to this Request to the extent it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege.

       Ms. Maxwell also objects to this Request to the extent it calls for information relating to
Virginia Roberts Giuffre that exists within the public domain, the internet or in public court

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records and which are equally available to both parties and can be obtained from some other
source that is more convenient, less burdensome, and less expensive. Subject to and without
waiver of the foregoing, Defendant refers to the public documents and news reports regarding
Plaintiff’s allegations of sexual abuse and investigation of the same, which have been previously
produced, are available in the public domain, or referenced in court papers. Defendant also
refers Plaintiff to documents within the possession, custody and control of Plaintiff and her
counsel, including without limitation Mr. Bradley Edwards, which were requested in
Defendant’s First Set of Discovery Requests, but were not produced despite certification of
Plaintiff and Plaintiff’s counsel that such Responses were truthful and complete. Without waiver
of any such objections, Ms. Maxwell has made available documents related to some of Ms.
Giuffre’s false allegations of sexual assaults in her Second Supplemental Fed. R. Civ. P.
26(a)(1)(A) disclosures. Ms. Maxwell is withholding documents responsive to this request on the
basis of the attorney-client and work product privileges.

       The response to Document Request No. 2 is inadequate for the reasons stated regarding

Request No. 1, and because there is no attorney-client or work product privilege that protects

communications with non-client third-parties, particularly when those communications are with

public administration personnel for the purpose of seeking police records. Tellingly, Defendant

cites to no case or authority for this specious claim of privilege. Therefore, the communications

concerning Defendant’s procurement of these documents are responsive, not privileged, and not

properly withheld.3

       Additionally, any statements or communications made by public officials to request

records are neither privileged nor protected by the work-product doctrine. Defendant’s response

cites no authority for such a proposition. Failure to respond to these requests suggests that the

police reports relied upon in the March meet-and-confer were procured by improper means by

whichever individual furnished Defendant with them, particularly since Florida law protects such

reports and keeps them confidential. Accordingly, information concerning how, and by whom,

these documents were procured is responsive to Ms. Giuffre’s requests.

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 Additionally, there is no work product protection for illegally or improperly acquired
documents, and police reports documenting the sexual assault of children are generally not
publically available in Florida. See supra. The processes by which Defendant obtained these
documents is relevant to this action.
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   iii.      Requests Nos. 6, 7, 9, and 10

Requests No. 6: Produce any Joint Defense Agreement entered into between You and Jeffrey
Epstein from 1999 to the present.

Response: Ms. Maxwell objects to this Request to the extent it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege. Defendant is withholding production of any such
agreement on the basis of such privileges.

Request No. 7: Produce any documents concerning any Joint Defense Agreement entered into
between You and Jeffrey Epstein from 1999 to the present.

Response: Ms. Maxwell objects to this Request to the extent it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege. Defendant is withholding documents on the basis of
such privileges.

Request No. 9: Produce any Joint Defense Agreement entered into between You and Alan
Dershowitz from 1999 to the present.

Response: Ms. Maxwell objects to this Request to the extent it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege. Subject to and without waiver of the foregoing,
Defendant has been unable to locate any documents responsive to this Request.

Request No. 10: Produce any documents concerning any Joint Defense Agreement entered into
between You and Alan Dershowitz from 1999 to the present.

Response: Ms. Maxwell objects to this Request to the extent it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege. Subject to and without waiver of the foregoing,
Defendant has been unable to locate any documents responsive to this Request.

          In Requests Nos. 6, 7, 9, and 10, Ms. Giuffre has requested Joint Defense Agreements

(and related documents) among Defendant and Jeffrey Epstein, and Defendant and Alan

Dershowitz. Defendant has been working closely with Alan Dershowitz, who has said that he is

in a joint defense agreement with Defendant. Defendant has no valid basis for refusing to

produce her joint defense agreements, particularly when Ms. Giuffre has produced her joint

defense agreement.




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         Seven out of 26 entries on Defendant’s privilege log are supported by a purported

“common interest privilege.” See Schultz Decl. at Exhibit 4, Defendant’s Third Amended

Privilege Log. The party asserting privilege carries the burden to prove every element of the

privilege. People v. Mitchell, 58 N.Y.2d 368, 373, 461 N.Y.S.2d 267, 448 N.E.2d 121 (1983).

The party asserting privilege also has the burden to establish that there has been no waiver.

Egiazaryan v. Zalmayev, 290 F.R.D. 421, 428 (S.D.N.Y. 2013). Such showings must be based

on competent evidence, usually through affidavits, deposition testimony, or other admissible

evidence. See Von Bulow by Auersperg v. Von Bulow, 811 F.2d 136, 147 (2d Cir.), cert. denied,

481 U.S. 1015, 107 S.Ct. 1891, 95 L.Ed.2d 498 (1987); Bowne of N.Y.C., Inc. v. AmBase Corp.,

150 F.R.D. 465, 472 (S.D.N.Y.1993). Egiazaryan v. Zalmayev, 290 F.R.D. 421, 428 (S.D.N.Y.

2013). In refusing to produce her joint defense agreements with Dershowitz and Epstein, and

therefore, has not met her burden for her claim of common interest privilege.

         Additionally, these documents are relevant to the underlying litigation in their own right,

as they show the nature of the ongoing relationship between Defendant and her co-conspirator,

Jeffrey Epstein, and between and Defendant and Epstein’s close friend and attorney, Alan

Dershowitz, and potentially other witnesses for whom Defendant may be claiming a common

interest privilege. Accordingly, this Court should direct Defendant to produce all documents

responsive to Requests Nos. 6, 7, 9, and 10.

   iv.      Document Request No. 11

Document Request No. 11: Produce any documents concerning any of Your attorneys’ or
agents’ communications with Alan Dershowitz’s attorneys or agents from 1999 to the present.

Response: Ms. Maxwell objects to this Request to the extent it seeks documents or information
protected by the attorney/client privilege, the work-product doctrine, the common interest
privilege or any other applicable privilege. Defendant is withholding communications between
Mr. Dershowitz’s counsel and Defendant’s counsel which contain work product and concern
joint defense or common interest matters.

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         In this Court’s previous Order, requiring Defendant to turn over the vast majority of the

documents on her first privilege log, this Court ordered Defendant to turn over her

communications with Alan Dershowitz because it ruled that such communications are not

privileged. See Schultz Decl. at Exhibit 5, April 15, 2016 Sealed Order Granting in Part

Plaintiff’s Motion to Compel for Improper Claim of Privilege. Yet, once again, Defendant is

apparently ignoring the Court’s prior order and wrongfully claiming privilege over Defendant’s

communications with Alan Dershowitz. Strangely, Defendant claims to be withholding

communications with Dershowitz because they “concern joint defense or common interest

matters,” while at the same time representing that she is “unable to locate” her JDA with

Dershowitz. However, the Court already ruled against Defendant on this issue - she has to

produce these materials. See April 15, 2016 Sealed Order Granting In Part Plaintiff’s Motion to

Compel for Improper Claim of Privilege. Therefore, if such a document exists, then the means of

procuring a copy of the JDA is created pursuant to the document: Defendant can simply ask

Dershowitz for a copy of the JDA pursuant to the JDA. As the case law above establishes,

Defendant cannot rightly claim a joint defense or common interest privilege while

simultaneously failing to produce the joint defense agreement. Accordingly, based upon the

foregoing, and based upon this Court’s prior order, Ms. Giuffre requests that the Court direct the

Defendant to produce documents responsive to this request, including her communications with

Alan Dershowitz or his attorneys or agents, along with a copy of the Joint Defense Agreement

upon which she purports to claim a privilege.

   v.       Document Request No. 12

Document Request No. 12: Produce all documents concerning Virginia Giuffre (a/k/a Virginia
Roberts), whether or not they reference her by name. This request includes, but is not limited to,
all communications, diaries, journals, calendars, blog posts (whether published or not), notes



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         As this Court stated in its April 15, 2016, Order Granting in Part Plaintiff’s Motion to

Compel for Improper Claim of Privilege, “[t]he presence of a third party during communication

or disclosure of otherwise confidential attorney-client communications to a third party waives the

privilege absent and exception. People v. Osorio, 75 N.Y.2d 80, 84, 549 N.E.2d 1183, 1185

(1989).” Id. at p. 14. This Court continued to explain: “Similarly, the common interest privilege

extends the attorney-client privilege to ‘protect the confidentiality of communications passing

from one party to the attorney for another party where a joint defense effort or strategy has been

decided upon and undertaken by the parties and their respective counsel.’ United States v.

Schwimmer, 892 F.2d 237, 243 (2d Cir. 1989).” Id. at 14-15. Further:

         Despite their shorthand names, neither the agency privilege nor the common-interest
         privilege operate independently; both may only exist to pardon the presumptive waiver
         that would result from disclosure of otherwise privileged attorney-client communications
         to a third party when that third-party is included under the umbrella of the agency or
         common-interest doctrines.

Id. at 15. Defendant, again, has failed to meet her burden to show that the communications she is

withholding are actually protected by the common interest privilege.

   i.       Defendant has Improperly Withheld an Email from Jeffrey Epstein to
            Defendant.

   This Court previously held that Defendant had not met her burden of proving any privilege as

to e-mails between Defendant and Jeffrey Epstein, yet Defendant continues to try to withhold

those communications. See April 15, 2016, Sealed Order. Defendant claims a “common interest

privilege” over an email sent from Epstein to her, in which Epstein forwarded a communication

from one of his attorneys to Defendant. Such an action waives the privilege and Defendant has

not shown that the common interest applies. “[T]he so-called joint defense privilege or common

interest rule . . . serves to protect the confidentiality of communications passing from one party

to the attorney for another party where a joint defense effort or strategy has been decided upon

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and undertaken by the parties and their respective counsel.” Chevron Corp. v. Donziger, 296

F.R.D. 168, 203 (S.D.N.Y. 2013) (internal quotation marks omitted) (emphasis added). The

“common interest” or “joint defense” privilege can only be invoked when at least one attorney

for one of the parties is present for the communication. Egiazaryan v. Zalmayev, 290 F.R.D. 421,

434 (S.D.N.Y. 2013) (“communications are protected where there is a disclosure by A to the

attorney representing B and vice-versa”). Therefore, this falls outside the common interest

privilege.

       Moreover, as articulated in this Court’s April 15, 2016, Order, “[t]he party asserting

protection bears the burden of proving each element of privilege and lack of waiver . . . Such

showing must be based on competent evidence, usually through affidavits, deposition testimony,

or other admissible evidence.” April 15, 2016, Order Granting in Part Plaintiff’s Motion to

Compel for Improper Claim of Privilege at p. 16 (internal citations omitted).

   Therefore, it is Defendant’s burden to prove that a joint defense agreement exists, yet

Defendant refuses to produce her joint defense agreement with Epstein, even while

simultaneously claiming that privilege. The burden of establishing that a “common interest”

privilege applies always rests upon the person asserting it. Chevron Corp., 296 F.R.D. at 203.

This showing must be made on a document-by-document basis, and based on competent

evidence, usually through the admission of affidavits, deposition testimony or other admissible

evidence. Id. By her refusal to produce her joint defense agreement, Defendant fails to meet her

burden in establishing that a “joint defense” or “common interest” agreement even exists

between her and convicted pedophile Jeffrey Epstein.

   Previously, this Court ordered an email between Defendant and Epstein be produced that

Defendant claimed was protected by a common interest privilege. April 15, 2016, Order



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Granting in Part Plaintiff’s Motion to Compel for Improper Claim of Privilege at 36. Because

Defendant has not met her burden with regard to this email, it, too, should be produced.

    ii.       Defendant has Improperly Withheld Emails from Alan Dershowitz’s Attorney.

    This Court has previously ordered Defendant to produce emails between Defendant and

Dershowitz. The Court should do the same for the emails from Dershowitz’s attorney. See April

15, 2016, Order Granting in Part Plaintiff’s Motion to Compel for Improper Claim of Privilege at

p. 32 (“Documents #1060-61 Must Be Produced”); p. 33 (“Communications with Epstein and

Dershowitz, Documents #1030-43, Must Be Produced”).

    Similarly, Defendant has logged “various” emails from Mary Borja, Dershowitz’s attorney,

to Defendant’s counsel and vice versa. She states that they are protected by the “attorney work

product.” . As recounted above, Defendant refuses to produce any joint defense agreement

between her and Alan Dershowitz. Accordingly, she fails to meet her burden of establishing that

any “joint defense” or “common interest” exist between her counsel and Alan Dershowitz’s

counsel.4 See Chevron Corp., 296 F.R.D. at 203. Based on the case law cited supra, Defendant’s

claim of privilege over these communications is improper.

    Moreover, as articulated in this Court’s April 15, 2016, Order, “[t]he party asserting

protection bears the burden of proving each element of privilege and lack of waiver . . . Such

showing must be based on competent evidence, usually through affidavits, deposition testimony,

or other admissible evidence.” April 15, 2016, Order Granting in Part Plaintiff’s Motion to

Compel for Improper Claim of Privilege at p. 16 (internal citations omitted). Defendant has

failed to do this; accordingly, she should produce these documents.

    iii.      Defendant has Improperly Withheld Emails from Jeffrey Epstein’s Attorney.

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 Additionally, Defendant has not claimed that Mary Borja is one of her attorneys, or represents
her in any capacity.
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of August, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

of Notices of Electronic Filing generated by CM/ECF.


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                                                    /s/ Sigrid S. McCawley
                                                        Sigrid S. McCawley




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